

West 70th Owners Corp. v Hiram Cohen &amp; Son, Inc. (2018 NY Slip Op 07957)





West 70th Owners Corp. v Hiram Cohen &amp; Son, Inc.


2018 NY Slip Op 07957


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Sweeny, J.P., Gische, Kapnick, Gesmer, Moulton, JJ.


7674 156272/15

[*1]West 70th Owners Corp., et al., Plaintiffs-Respondents,
vHiram Cohen &amp; Son, Inc., et al., Defendants-Appellants.


Keidel, Weldon &amp; Cunningham, LLP, White Plains (Darren P. Renner of counsel), for appellants.
Jaroslawicz &amp; Jaros PLLC, New York (David Tolchin of counsel), for respondents.



Order, Supreme Court, New York County (Andrea Masley, J.), entered on or about January 30, 2018, which, to the extent appealed from as limited by the briefs, denied defendants' motion for summary judgment dismissing the complaint as against Hiram Cohen &amp; Son, Inc., unanimously affirmed, without costs.
In opposition to defendants' prima facie showing that Hiram Cohen &amp; Son, Inc. (HCS) was not negligent or in breach of a contract in connection with its procurement of an insurance policy, plaintiffs demonstrated the existence of issues of fact, namely, whether they made a specific request for particular insurance coverage, and whether they had a special relationship with HCS that would have obligated HCS to make certain that they were properly insured. HCS's claims that plaintiff failed to timely read and understand the policy only go to comparative negligence, but do not bar the action altogether (see American Bldg. Supply Corp. v Petrocelli Group, Inc., 19 NY3d 730 [2012]). Additionally, this issue is factually disputed (id.).
We have considered defendants' remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








